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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Jesse Ventura a/k/a James
G. Janos,
                                                       Civ. No. 12-472 (RHK/JJK)
                                   Plaintiff,          ORDER
v.

Taya Kyle, as Executor of the Estate of
Chris Kyle,

                                  Defendant.


       Defendant having moved for judgment as a matter of law or, in the alternative, for

a new trial, IT IS ORDERED that Plaintiff shall serve and file a memorandum in

opposition to the Motion, along with all supporting documents, on or before September

26, 2014, and Defendant may file a reply memorandum, 1 if any, along with all supporting

documents, on or before October 3, 2014. If the Court desires a hearing on the Motion,

the parties will be notified.

Dated: September 5, 2014                               s/Richard H. Kyle
                                                       RICHARD H. KYLE
                                                       United States District Judge




1
 The Court reminds Defendant that any reply memorandum may not exceed 1,064 words, as the
opening brief totaled 10,936 words. See D. Minn. LR 7.1(f).
